Case 2:16-cr-00030-PM-KK          Document 31        Filed 04/20/16      Page 1 of 2 PageID #: 75




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                               LAKE CHARLES DIVISION


 UNITED STATES OF AMERICA                             :       DOCKET NO. 16-cr-00030-02

 VS.                                                  :       JUDGE MINALDI

 LUIS GERARDO ARPI-SUMBA                              :       MAGISTRATE JUDGE KAY


                 REPORT AND RECOMMENDATION ON FELONY
            GUILTY PLEA BEFORE UNITED STATES MAGISTRATE JUDGE


        Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

 consent of the defendant, this matter has been referred by the District Court for administration of

 Guilty Plea and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

        This cause came before the undersigned U. S. Magistrate Judge on April 20, 2016 at which

 time the defendant expressed a desire to waive his right to plead guilty before a District Judge and

 enter into a plea before the U. S. Magistrate Judge. Defendant indicated on the record his desire

 to consent to proceed before the undersigned and executed a waiver. Defendant was at all times

 represented by counsel, Marcus Myers.

        After said hearing and for reasons orally assigned, it is the finding of the undersigned that

 the defendant is fully competent, that his plea of guilty is knowing and voluntary, that his guilty

 plea to Count One of the Indictment is fully supported by the written factual basis acknowledged

 by defendant orally in court and by his signature on the written document. This factual basis

 supports each essential element of the offense to which the defendant pled.
Case 2:16-cr-00030-PM-KK          Document 31       Filed 04/20/16      Page 2 of 2 PageID #: 76




        Therefore the undersigned U.S. Magistrate Judge recommends that the District Court

 ACCEPT the guilty plea of the defendant, Luis Gerardo Arpi-Sumba, and that he be finally

 adjudged guilty of the offense charged in Count One of the Indictment.

        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and FED. R. CIV. P. RULE 72(b), the

 parties have fourteen (14) days from service of this Report and Recommendation to file specific,

 written objections with the Clerk of Court. Defendant, however, waived his right to file these

 written objections, and, accordingly, the matter is now deemed submitted to this district court for

 consideration.

        THUS DONE this 20th day of April, 2016.
